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United States District Court

Southern District of Florida

MIAMI DIVISION
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. Case Number: 08-20081-CR-UNGARO

ARMANDO Z. VEGA
USM Number: 03838-131

Counsel For Defendant: Helen Batoff, AFPD
Counsel For The United States: Mark Dispoto, AUSA
Court Reporter: William Romanishin

 

The defendant pleaded guilty to Count(s) One of the Information.
The defendant is adjudicated guilty of the following offense(s):

TITLE/SECTION NATURE OF
NUMBER OFFENSE OFFENSE ENDED COUNT
Title 18 USC 111 Simple assault on a 1/11/08 One

federal officer

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any material
changes in economic circumstances.

Date of Imposition of Sentence:
4/14/2008

URSULA UNGARO
United States District Judge

April Zo , 2008
 

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DEFENDANT: ARMANDO Z. VEGA
CASE NUMBER: 08-2008 1-CR-UNGARO

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a term of TWELVE (12) MONTHS. Months.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal
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DEFENDANT: ARMANDO Z. VEGA
CASE NUMBER: 08-20081-CR-UNGARO

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of ONE (1) YEAR.

The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from custody of the Bureau of Prisons.

The defendant shail not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of acontrolled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the

defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any
additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1. the defendant shall not leave the judicial district without the permission of the court or probation officer;

2. the defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful
and complete written report within the first five days of each month,

3. the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4. the defendant shall support his or her dependents and meet other family responsibilities;

5. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6. the defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9. the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;

10. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

11, the defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law
enforcement officer;

12. the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court,

13. as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the

defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: ARMANDO Z. VEGA
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SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of supervised release:

The defendant shall participate in an approved treatment program for anger control/domestic violence. Participation may
include inpatient/outpatient treatment. The defendant will contribute to the costs of services rendered (co-payment)
based on ability to pay or availability of third party payment.

At the completion of the defendant’s term of imprisonment, the defendant shall be surrendered to the custody
of the U.S. Immigration and Customs Enforcement for removal proceedings consistent with the Immigration and
Nationality Act.

If removed, the defendant shall not reenter the United States without the prior written permission of the Undersecretary
for Border and Transportation Security. The term of supervised release shall be non-reporting while the defendant is
residing outside the United States. If the defendant reenters the United States within the term of supervised release, the
defendant is to report to the nearest U.S. Probation Office within 72 hours of the defendant’s arrival.

The defendant shall maintain full-time, legitimate employment and not be unemployed for a term of more than
30 days unless excused for schooling, training or other acceptable reasons. Further, the defendant shall provide
documentation including, but not limited to pay stubs, contractual agreements, W-2 Wage and Earnings Statements, and
other documentation requested by the U.S. Probation Officer.

Self-Employment Restriction: The defendant shall obtain prior written approval from the Court before entering into any
self-employment.
 

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DEFENDANT: ARMANDO Z. VEGA
CASE NUMBER: 08-20081-CR-UNGARO

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments.

Total Assessment Total Fine Total Restitution
$25.00 $ $

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
committed on or after September 13, 1994, but before April 23, 1996.
 

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DEFENDANT: ARMANDO Z. VEGA
CASE NUMBER: 08-20081-CR-UNGARO

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A. Lump sum payment of $ due immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed
to:

U.S. CLERK’S OFFICE

ATTN: FINANCIAL SECTION

301 N. MIAMI AVENUE, ROOM 150
MIAMI, FLORIDA 33128

The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
the U.S. Attorney’s Office are responsible for the enforcement of this order.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court
costs.
